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     Attorneys for Plaintiff
21
                  IN THE UNITED STATES DISTRICT COURT
22
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
23                            SAN JOSE DIVISION
     ROSA STANFORD             *    Civil Action No. 5:18-cv-02232-LHK
24
                    Plaintiff  *
25   versus                    *    [PROPOSED] ORDER
                               *    GRANTING MOTION TO WITHDRAW
26   INTUITIVE SURGICAL, INC. *
27                  Defendant *
     *********************************
28



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 1           Ronnie G. Penton, Francois M. Blaudeau, Nancy Hersh, Evan Taylor Rosemore,
 2
     and Leah F. Walsh seek to withdraw as counsel for Plaintiff in the above-captioned
 3

 4
     litigation, pursuant to LOCAL RULE 11-5(a) and CAL. R. PROF. CONDUCT 3-700(A)(1).

 5   As this Court finds that Ronnie G. Penton, Francois M. Blaudeau, Nancy Hersh, Evan
 6
     Taylor Rosemore, and Leah F. Walsh have submitted satisfactory reasoning for
 7

 8
     withdrawal, and that the granting of their Motion will not cause substantial prejudice or

 9   delay to any party,
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                      IT IS HEREBY FURTHER ORDERED that the Motion to Withdraw as
11
     Counsel for Plaintiff filed by Ronnie G. Penton, Francois M. Blaudeau, Nancy Hersh,
12

13   Evan Taylor Rosemore, and Leah F. Walsh is GRANTED, and that Ronnie G. Penton,
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     Francois M. Blaudeau, Nancy Hersh, Evan Taylor Rosemore, and Leah F. Walsh are
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     hereby terminated as counsel in this proceeding.
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17
     DATED:          June 18, 2019             By:
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                                                        Hon. Lucy H. Koh
19                                                      United States District Judge
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